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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF OKLAHOMA
                           OKLAHOMA CITY DIVISION



FEDERAL TRADE COMMISSION,

       Plaintiff,                                Civil Action No. CIV-14-786
                                                 Judge Timothy D. DeGiusti
      v.

YOUR YELLOW BOOK INC, a
corporation, also d/b/a/ YOUR
YELLOW BOOK,
                                                 PLANTIFF FEDERAL TRADE
                                                 COMMISSION’S WITNESS LIST
BRANDIE MICHELLE LAW,                            FOR THE PRELIMINARY
individually and as an officer or director       INJUNCTION HEARING
of YOUR YELLOW BOOK INC,

DUSTIN R. LAW, individually and as an
officer or director of YOUR YELLOW
BOOK INC, and

ROBERT RAY LAW, individually and
as an officer or director of YOUR
YELLOW BOOK INC,

        Defendants.




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      Plaintiff Federal Trade Commission submits its witness list for the preliminary

injunction hearing:

                                 Plaintiff FTC’s Witnesses

  Category A: Witnesses Plaintiff Expects to Present at Preliminary Injunction Hearing
            Brent McPeek – Last known contact information previously provided
            Dale O’Groske - Last known contact information previously provided
              Lisa Ditter – Java Joe’s, 8 E Baltimore St, Baltimore, MD 21202
                               Paul Boyd – State of Oklahoma
                    Office of the Attorney General, 313 NE 21st Street
                                  Oklahoma City OK 73105



                                 Plaintiff FTC’s Witnesses

     Category B: Witnesses Plaintiff May Present at Preliminary Injunction Hearing
             Melissa Falin – Last known contact information previously provided
             Julie Gebert – Last known contact information previously provided
               Julia Gee – Last known contact information previously provided
             Erika Kimm – Last known contact information previously provided
            Bill Lambacher – Last known contact information previously provided
           Royce Eddington – Last known contact information previously provided
             James Rider – Last known contact information previously provided
           Lori Rischmiller – Last known contact information previously provided
              Steven Rojo – Last known contact information previously provided
             Ryan Brakhage – U.S. Postal Inspection Service, 6500 Air Cargo Rd.
                                 Oklahoma City, OK 73195
             Diane Welsh – Last known contact information previously provided




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Dated: July 30, 2014                Respectfully submitted,

                                           s/ Thomas B. Carter
                                    REID TEPFER
                                    Texas Bar No. 24079444
                                    THOMAS B. CARTER
                                    Texas Bar No. 03932300

                                    Federal Trade Commission
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                                    Dallas, Texas 75201
                                    (214) 979-9395; rtepfer@ftc.gov
                                    (214) 979-9372; tcarter@ftc.gov
                                    (214) 953-3079 (fax)

                                    Attorneys for Plaintiff
                                    FEDERAL TRADE COMMISSION




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                             CERTIFICATE OF SERVICE

        I certify that Plaintiff Federal Trade Commission filed the foregoing with the
Clerk of Court using the ECF system, and further certify that Plaintiff will promptly serve
a true and correct copy of the foregoing on Defendants by overnight delivery service and
email (where known) at the following last known addresses:

YOUR YELLOW BOOK, INC
info@youryellowbook.com
ProRDBInc@yahoo.com
webmaster@youryellowbook.com
and
1009 NE 6th Street
Moore, Oklahoma 73160

BRANDIE MICHELLE LAW,
individually and as an officer or director of
Your Yellow Book, Inc
312 W. Creek Ave., Apt. 1
Sallisaw, OK 74955

DUSTIN R. LAW, individually
and as an officer or director of
Your Yellow Book, Inc
1009 NE 6th Street
Moore, Oklahoma 73160

ROBERT RAY LAW, individually
and as an officer or director of
Your Yellow Book, Inc
1009 NE 6th Street
Moore, Oklahoma 73160



Dated: July 30, 2014                                   s/ Thomas B. Carter
                                                    Thomas B. Carter




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